Case 9:03-cv-80103-DMM Document 103 Entered on FLSD Docket 09/14/2004 Page 1 of 3

UNITED STATES DISTRICT COURT | an BY: VI ce
SOUTHERN DISTRICT OF FLORIDA ‘*"" : Wiel
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CASE NO. 03-80103-CIV-MIDDLEBROOKS . we
MAGISTRATE JUDGE JOHNSON :

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T.A.WYNER and GEORGE SIMON,

 

Plaintiffs,

VS.

 

DAVID B. STRUHS, in his official capacity
As Secretary, Florida Department of
Environmental Protection, and TERENCE
COULLIETTE, individually and in his
Official capacity as Park Manager of the
John D. MacArthur Beach State Park,

 

Defendants.

 

NOTICE OF APPEAL

Notice is hereby given that DAVID B. STRUHS and TERENCE COULLIETTE,
Defendants in the above-named case, hereby appeal to the United States Court of
Appeals for the Eleventh Circuit a Final Judgment dated January 28, 2004. On August
16, 2004, the District Court entered an Omnibus Order denying the Defendants’ Motion
to Alter or Amend the Judgment filed pursuant to Rule 59 of the Federal Rules of Civil

Procedure.
Case 9:03-cv-80103-DMM Document 103 Entered on FLSD Docket 09/14/2004 Page 2 of 3

The Defendants also appeal the Order Granting Motion for Preliminary
Injunction entered February 13, 2003, and the Order on Motions for Summary Judgment

dated January 28, 2004.

Respectfully submitted,
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CARRI S. LEININGER

Florida Bar No. 0861022

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561/615-5666; Fax 561/615-9606
Attorneys for Defendants
Case 9:03-cv-80103-DMM Document 103 Entered on FLSD Docket 09/14/2004 Page 3 of 3

CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that a true and correct copy of the foregoing has been
furnished by U.S. Mail to: to JAMES K. GREEN, Esquire, James K. Green, P.A., Suite
1630, Esperante’, 222 Lakeview Avenue, West Palm Beach, Florida, 33401, RANDALL
C. MARSHALL, Esquire, ACLU, 3000 Biscayne Boulevard, Suite 215, Miami, Florida,
33137, and CHRISTINE GUARD, Assistant General Counsel, Florida Department of
Environmental Protection, 3900 Commonwealth Boulevard - MS 35, Tallahassee, FL,

32399-3000, this 10'* day of September, 2004.

CAP

CARRI S/LEININGER
